                                Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 1 of 62

                                     UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                  Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                   MOTION INFORMATION STATEMENT

Docket Numbel(s): 24-2370                                                                     Caption [use short titler

Motion for: Withdraw Appeai without prejudice

                                                                                     Mohamed John Akhtar, et al
                                                                                         Plaintiffs - Appellants,
Set forth below precise, complete statement of relief sought:

To withdraw plaintiffs-appellants' appeal without                                            v.
prejudice consistent with the Court's Order March
                                                                                     Eric Adams, et al.                   g
4, 2025
                                                                                     Eric M. Eisenberg,
                                                                                             Defendants-appellants.

M OVING PARTY: Mohamed John Akhtar, et al.                              OPPOSING PARTY; Eric M. Eisenberg, Esq. pro se

           Dvlainurf                   EDefendant

           '/ Appellant/Petitioner     ljAppellee/Respondent

MOVING ATTORNEY: Anthony N. Iannarelli Jr.                              o r p o s l nG ATTORNEY: Eric M. Eisenberg, Esq. pro se
                                       [name of attorney, with Firm, address, phone number and e-mail]
 Anthony N. lannarelli Jr.                                               454 West 46th Street, Unit 1ES, New York, NY
 74 Lafayette Avenue, Suite 202. # 116                                  1300 S. Miami Avenue, Unit 1408
 Suffem, N.Y. 10901                                                     Miami, FL 33103

Coun- Judge/ Agency appealed from: Hon. Jessica Clarke, U.S. Judge, U.S. Dist. Court

 Please check appropriate boxes:                                           FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                           INJUNCTIONS FENDING APPEAL:

            J Yes   8
 Has movant notified o posing counsel (required by Local Rule 27.l):
                         No (explain):
                                                                            Has this request for relief been made below?
                                                                            Has this relief been previously sought in this court?
                                                                            Requested return date and explanation of emergency:
                                                                                                                                    es J No
                                                                                                                                    Yes /No


 Opposing counsel's position on motion:
            ljUnopposed J Opposed            Don't Know
 Docs opposite counsel intend t file a response:
          l Yes [1140 »/ Don't Know


 Is oral argument on motion requested?               Yes »/ No (requests for oral argument will not necessarily be granted)

 Has argument date of appeal been set?               Yes »/ No If yes, enter date:

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               Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 2 of 62




              UNITED STATES COURT OF APPEALS
                    FOR THE SECOND CIRCUIT


Mohamed John Akhtar, La Buca
Restaurant, Inc., DBA Swing 46         I
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Jazz and Supper Club,                  I
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                                               Case No. 24-2370
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      Plaintiffs - Appellants,         I
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Eric Adams, Mayor of the City of        1
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New York, Rohit T.                      I
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                                        I      Affirmation of Service
Aggarwala, New York City                I
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Department of Environmental             I
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Protection, Erie M. Eisenberg,           I
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      Defendants - Appellees,            I
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Jane Does 1-30, John Does 1-30,           I
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             Defendants.                   I
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      Anthony N. lannarelli Jr., of full age and the attorney for plaintiff-
appellants herein, affirms under the penalty of perjury to the following:


1. On March 6, 2025, I electronically filed through ACMS to the United
States Court of Appeals for the Second Circuit, at the Thurgood
Marshall United States Courthouse in New York, N.Y ,plaintiffs-
appellants' Motion to withdraw their appeal without prejudice.
               Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 3 of 62




2. On March 6, 2025, I served plaintiff-appellants' same Motion papers to

defed art-appellee Eric M. Eisenberg via email @ ericeis@qmail.com and

ericnoise@hotmaiI.com, and


3. On March 6, 2025, I served the same Motion papers on Counsel for New

York City government defendants, via the Court's ACMS, to,

                  David Alan Rosinus, Jr., Esq.
                  Assistant Corporation Counsel
                  New York City Law Department
                  Appeals Division
                  100 Church Street
                  New York, NY 10007

      I affirm to the truth of the forgoing and am aware that I can be subject

to punishment for any statement knowingly mage false.

Dated: March 6, 2025                         ;'
                                           Anthony N. Iannarelli Jr.
                                           Attorney for Plaintiff-Appellants
               Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 4 of 62




            UNITED STATES COURT OF APPEALS

                             FORTHE SECOND CIRCUIT
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Mohamed John Akhtar, La Buca             .
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Restaurant, Inc., DBA Swing 46           .
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Jazz and Supper Club,                    .
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      Plaintiffs - Appellants,           .
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Eric Adams, Mayor of the City of         .
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New York, Rohit T. Aggarwala, New         .
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York City Department of                   .
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Environmental Protection, Eric M.         .
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Eisenberg,                                .
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      Defendants -Appellees,              I
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Jane Does 1-30, John Does 1-30,           .
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            Defendants.                   .
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                                               Anthony N. Iannarelli Jr.
                                        Attorney for Plaintiffs-appellants
                                               74 Lafayette Avenue
                                                Suite 202 # 1 16
                                              Suffern, New York 10901
                                                  212-431-1031
                                               anilaw2@gmaiL com
              Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 5 of 62




                        Relief Sought
     Plaintiffs-appellants, consistent with an Order of this Court dated

March 4, 2025, move to withdraw their appeal without prejudice to file a

new appeal after final judgment is entered.


                        Grounds for Relief

     Since the filing of the Notice of Appeal, plaintiff have obtained

evidence, that had not been available previously, that will allow them to

make justiciable arguments before the district court concerning service of

the summons and amended complaint upon defendant-appellant. The

original complaint, filed in July 2023, had been dismissed before discovery

was conducted, upon a dispositive motion brought by defendant-appellant.

Granted leave to amend the complaint, plaintiffs-appellants have not been

able, despite due diligence, to serve the summons and amended complaint

upon defendant-appellee. There was a concern, which is no longer an

issues, that the statue of limitations for purposes of further amendments,

would expire before defendant-appellant could be served .

      Plaintiffs-appellants are now in a position to argue in the district court

that either the defendant appellate had been previously served

successfully, or, now that the actual legal residency has been determined,
               Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 6 of 62




defendant appellant can be served through alternative service methods

within the State of New York.

     The events surrounding the circumstances for the relief sought have

been stated, and clarified, in an accompanying Affirmation, dated March 6,

2025, by counsel for plaintiff-appellants Anthony N. lannarelli Jr. That

affirmation is included along with the motion herein.


                  Authority for the Relief Sought
            The authority for the relief sought is the aforementioned Order

of this Court, dated March 4, 2025, and is attached herein.

Dated: March 6, 2025                         /',
                                          /Anthony N. Iannatt IT.
                                      Attorney for Plaintiffs-Appellants
                   Case: 24-2370, 03/0672625,'ni€Eawy:'§7$1 ,`P"la'g"e '7`6f'32




                      UNITED STATES COURT OF APPEALS
                                 FOR THE
                              SECOND CIRCUIT

        At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
4th day of March, two thousand twenty-five .

Before :       William J. Nardini,
                      Circuit Judge.


 Mohamed John Akhtar, La Buca Restaurant,
 Inc., DBA Swing 46 Jazz and Supper Club,         ORDER

              Plaintiffs - Appellants,            Docket No. 24-2370

   v.

 Eric Adams, Mayor of the City of New
 York, Rohit T. Aggarwala, New York City
 Department of Environmental Protection,
 Eric M. Eisenberg,

              Defendants - Appellees,

 Jane Does 1-30, John Does 1-30,

               Defendants .


         Appellee Eric M. Eisenberg has moved to reconsider or vacate the order reinstating this
 appeal, which was previously dismissed on a briefing default. Upon closer examination, it is
 unclear whether this Court has jurisdiction over this appeal. It appears that Appellants challenge
 a district court order entered on August 19, 2024, which dismissed two counts with prejudice and
 the remaining counts without prejudice. It further appears that Appellants were given a deadline
 of September 16, 2024, to tile any second amended complaint. Appellants appear to have he a
 second amended complaint after that deadline, and the docket does not indicate whether the
 district court has yet acted to accept or dismiss that complaint.

        Accordingly, no later than Friday, March 7, 2025, the Appellants are directed to either (a)
 withdraw the appeal without prejudice to filing a new appeal after final judgment is entered, or
 (b) explain why jurisdiction exists under this Court's case law, specifically the Court's case law
 holding that dismissal of a complaint with leave to amend is not a final decision under 28 U.S.C.
 § 1291 and not immediately appealable. Salmon v. Blessed, 802 F.3d 249, 252 n.2 (2d Cir. 2015),
                    Case: 24-2370, 03/06/2'625', 'l5Eil§h'tM"97:1, 'F9'al@'é §'0'f 62




Slayton v. Am. Express Co., 460 F.3d 215, 224 & n.7 (2d Cir. 2006), Fester v. Local 3 Int'I Bhd.
of EIec. Workers, 905 F.2d 35, 36-37 (2d Cir. 1990) (per curiam), Blanco v. United States, 775
F.2d 53, 56 (2d Cir. 1985), see, kg., Dees v. Knox, No. 24-1574, 2025 WL 485019, at *1 (2d Cir.
Feb. 13, 2025) (summary order), Whitfield v. Johnson, 763 F. App'x 106, 107 (2d Cir. 2019)
(summary order).


                                                     For the Court:
                                                     Catherine O'Hagan Wolfe,
                                                     Clerk of Court



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                 Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 9 of 62




                           UNITED STATES COURT OF APPEALS

                                FORTHE SECOND CIRCUIT
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Mohamed John Akhtar, La Buca               .
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Restaurant, Inc., DBA Swing 46             .
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Jazz and Supper Club,                      .
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                                                 Iannarelli Jr , Attorney for
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                                                 Plaintiffs-Appellants, in support of
Eric Adams, Mayor of the City of            .
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                                                 their application to withdraw their
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New York, Rohit T. Aggarwala, New           .
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York City Department of                     .


Environmental Protection, Eric M.
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Eisenberg,                                  .
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Jane Does 1-30, John Does 1-30,              .
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                Affirmation in Support of Motion
        Anthony N. lannarelli Jr., of full age and the attorney for plaintiff-

appellants herein, affirms under the penalty of perjury to the following:

   1.    Consistent with the Court's Order, dated March 4, 2025, plaintiff-




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appellants now move to withdraw their interlocutory appeal without prejudice.

This applies only to defendant-appellee Eric M. Eisenberg (hereinafter

defendant-appellee Eisenberg), and does not include the "New York City"

defendants-appellees. Plaintiffs-appellants have sought defendant-appellee

Eisenberg's position on this Motion, and it is anticipated there will be

opposition.


   2. Plaintiffs-appellants are of the belief that not only was their appeal

meritorious, but it was also warranted to adequately protect the record.

Fur*ther, there has been some recent changed circumstances, that will be

discussed below, that will allow for resolutions of issues at the district court

without the need of appellate intervention.

   3.   The case has been stalled, discovery has been stayed, and it is now

drawing near the two-year mark for plaintiff-appellant's filing of their complaint

in July 2023. There was a concern that statute of limitations, or, other

theories of collateral estoppel, might unfairly preclude plaintiffs' ability to

further amend and expand their pleadings.

   4.   Although diligent efforts have been made, the immediate issue is

plaintiffs-appellants have not been able to serve defendant-appellee Eric M.

Eisenberg. As will be explained further below, this delay cannot be attributed

to plaintiffs-appellants.


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   5.   Plaintiffs-appellants also reasonably believe, and as will also be

described below, it was defendant-appellee Eric M. Eisenberg's conduct

which created unwarranted difficulties in moving clients' case forward.

Namely, his attempts at obstructing service upon himself, and then being

untruthful to both the Court and plaintiff-appellants over the location of where

he actually legally resides

   6.   l first want to address that part of the Court's Odrer that suggests

plaintiff-appellants did not timely file their Amended Complaint on

September 16, 2024 as the district court had directed. I believe it was

defendant-appellee Eisenberg that first made that claim to this Court. I

have produced the first page of the amended complaint, and it indicates a

filing for the Amended Complaint as September 16, 2024. I have also

included the docket entries that also indicates September 16, 2025 as the

filing date. Both documents are attached as Exhibit A.

   7.   I became visually impaired upon sudden onset of a retinal

disorder, this occurred after the commencement of the case. Exhibit B. I

do not like talking about my personal medical affairs publicly, but when I

brought this to the attention of the district court, and asked to have it kept

under seal, it was vigorously opposed.

   8.    What followed were a string of personal attacks upon my



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character that have continued to this day, and in virtually every pleading

before this Court. I do not want my privacy rights to become a distraction,

rather, I want to keep the case moving forward. Thus, I must make

disclosures that I would rather keep private.

   9.    To seek a sanction over the date of when the amended complaint

was filed in the district court, in this case the denial of allowing plaintiffs-

appellants to withdraw their appeal without prejudice, is insensitive and

highly inappropriate. Given what has happened in the past, and now

having learned from past experience, I have to make an abundantly clear

record. But I make this revelation of the instant matter before the Court,

this does not constitute a general waiver of my privacy rights.

   10.         I am still undergoing regular and painful treatment every four

weeks. I cannot adequately describe with words the emotional toll endured

by just the thought of losing one's sight. And I experience the emotional

drain before, during, and after every treatment. They require an injection

directly through my eyeball into the retina.

   11.       while I wish it would end there, it does not. Because the

condition is related to age and genetics, and I must live with the fact that

my other eye can be prone to the same aliment. In addition to the actual

visual disorder, and because optic nerves from each eye converge into one



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strand of nerve tissue, I experience "mixed signals" upon the visual

information reaching my brain.

  12.       Where I have the greatest difficulty is correctly identifying

some numbers and letters. There are occasions where a letter my not

register at all, digits may actually transmit as completely different number.

I am sure I have made mistakes, but I have suffered the indignity of being

accused of intentionally misleading to the Court. l now have support that

assists me in reading and editing document, and my distance visual is

largely unaffected .

   13.      Eventually I sought a reasonable accommodation from the

   district court and was allowed, on occasion, additional time to perform

   certain tasks. I only ask for the accommodation when I really need it.

   14.      The last thing I want from anyone is sympathy, but I do not

like the idea my disability being used to advance specious allegations of

misconduct, accusing me of disobeying court rules and orders, and

continually asking for the Court to impose sanctions to be imposed upon

me. I have made mistakes, but I have done nothing to merit such

treatment. I do expect, and indeed have a right, to a reasonable

accommodation, which the district court made by providing additional time

when needed.


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  15.      I am going through this because of allegations that I disobeyed

  the district court's order to file the Amended Complaint by September

  16, 2025. This takes us back to Exhibit 1 of the docket sheet. Note the

  entry for September 17, 2024. There was a request to make

  corrections, among others, I was asked for the addition of John and

  Jane Does in the Amended Complaint. There is another notation for

  when I was having trouble finding the correct EM/ECF dropdown menus

  for filing, and to use a different menu option. This is not a lack of

  diligence, rather it is a reasonable accommodation in real time. And no

  party was prejudiced by the accommodation granted,

  16.      When the Amended Complaint was ultimately filed, without the

need for further adjustment, it was referenced back to EM/ECF # 99-the

original September 16, 2024 filing date. Indeed, the district court allowed

the case to proceed with the directive to serve the summons and complaint

upon defendant-appellee Eisenberg.

   17.      When defendant-appellee Eisenberg could not be successfully

served, on February 6, 2025 the district court directed that an attempt be

made to serve defendant-appellee Eisenberg no later than March 10, 2025 at

the Miami, Florida address. Exhibit C at EM/ECF # 121. That address, Unit




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1408, 1300 S Miami Avenue Miami, FL 33130, was the address defendant-

appellant Eisenberg demanded that documents be sent.

   18.      It took a painstaking investigation, but, with confidence the

plaintiffs-appellants can now argue before the district court, clearly and

convincingly, that defendant-appellant Eisenberg has, and continues to be, a

resident in the City and State of New York. He cannot be found and served at

the Florida address he has provided to the Court. Surely, defendant-appellee

Eisenberg might visit that location, but that is not his legal address.

   19.      As it turned out, and in spite of due diligence, defendant-appellee

Eisenberg could not be served at that Miami, Florida address. Rather it has

been determined that defendant-appellee is residing at his official residential

address in New York City. And again, the significance of this is because

defendant-appellant Eisenberg might "run out the clock" on plaintiffs-

appellants' case because of the inability to complete service. That time is

potentially drawing near, and that is why plaintiffs had a need to cover every

possible legal contingency, including the service of the Notice of Appeal

herein.

   20.       The evidence now available to plaintiffs-appellants, that had not

been available previously, constitutes the changed circumstance plaintiffs-

appellants which can be argued before the district court. Additionally, and


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as recently as yesterday, March 5, 2025, I leaned from the process

server representative, Guaranteed Subpoena, Inc., that five attempts were

made to serve defendant-appellant Eisenberg at his chosen Florida address

located at of Unit 1408, 1300 S Miami Avenue Miami, FL 33130. All five

attempts were unsuccessful.

   21 .      It is noteworthy that defendant-appellee Eisenberg resides within

a "gated community" located at 454 West 46th Street, Manhattan. It is cost

prohibited, with one estimate of over a hundred dollars per hour, to have a

process server sit at the gate awaiting the possibility that defendant-appellee

Eisenberg may by chance pass through. A professional process server went

to that location on three occasions, but was not able to serve defendant-

appellate Eisenberg. An affidavit of due diligence has been filed with the

district court.

   22.       As an Attorney at Law, defendant-appellee Eisenberg is

currently utilizing a post office box for his New York law office address. And

while this may not comport with the rules for maintaining an office as an

attorney in New York, it has made it impossible to complete service in the

absence of an actual office.

   23.       Going back to December 2023, defendant-appellee




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Eisenberg had an actual office at located 405 Lexington Avenue, 48th Floor,

New York, NY 10074. I made two attempt to serve at that address. The

location has a ground floor lobby where concierges stand behind a large

desk-like countertop. To enter any of the offices, you must be authorized by

the conciergerie. I went and identified myself as an attorney and was there

on official business. The conciergerie indicated he needed to first call the

office before I could be admitted. While he appeared to have a brief phone

conversation, he announced that "no one was in the office" and I would

have to come back.

   24.      I returned the following evening, and went through the same

conciergerie's vetting process. This time when I announced my presence, I

noted I was treated with what I sensed to be dismissiveness. Again, a phone

call was made, but this time I was told, in substance, since I was not an

authorized individual, I would not be granted access. I took note of the

concierge's table and it gave the appearance that the concierge's role was

more than to admit or deny guests. Rather, it suggested that the concierges

were also to provide services for tenants, such as collecting documents to be

held for tenants. I left the summons and complaint to be provided to

defendant-appellee Eisenberg when next seen.

   25.      The service of the summons and complaint was successfully


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challenged and ultimately the complaint was dismissed with leave to refile.

But, based upon my training and experience, I was of the belief this was a

case, to say the least, of proactive avoidance of service of process. I also

suspected, correctly, there would be serious difficulty in completing service

of process upon defendant-appellee.

   26.      With that said, the facts of the case and procedural history of this

case may be fodder or a case of first impression. If one is fortunate enough

to reside in a gated community, and with an unwillingness to play by rules, a

defendant could indefinitely, and perhaps permanently, remain outside the

reach of a court of law. With these set of facts, any similarly situated plaintiff

might face insurmountable limits to prosecute a meritorious claim. And

plaintiffs-appellants believe their claims to be meritorious.

   27.      These are significant issues because as society becomes more

economically stratified, this issue is likely to repeat itself often enough.

These issues might not yet be ripe for appellate review in this case, because

the evidence the plaintiffs-appellants now have on hand, that, again, was not

available to them previously, but it will allow them to make justiciable and

valid arguments in the district court.

   28.       In any event, the focus returns to the district court because




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plaintiffs-appellants have a valid argument defendant-appellee Eisenberg

actual legal residency is in New York, and not in Florida. Plaintiffs-appellees

will have to petition the district court for a determination of what alternatives

are available for service, or, most significantly, whether plaintiffs-appellants

have met the criteria for adequate service already performed in New York.

   29. While defendant-appellee may visit Florida, he also has been

observed in New York City by plaintiff-appellantAkhtar. And with the

recently discovered evidence, plaintiffs-appellants are now of the belief

they can show, clearly and convincingly, that defendant-appellee Eisenberg

resides in New York, and not in Florida. That evidence is detailed in the

following Exhibits:

      D.) defendant-appellee Eisenberg is currently registered to vote in

   New York with a State of New York residential address of 454 West 46

   Street 1Es, New York;

      E.) a current voter registration for defendant-appellee Eisenberg with

the Board of Elections for the City of New York in the Borough of

Manhattan,

      F.) earlier this year I have personally went to a residential location at

454 West 46t*' Street, New York and observed and photographed a

residents' directory revealing the name Eric Eisenberg,



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  G.) at the time I utilized the residents' directory to call his dwelling

with the name of Eric Eisenberg appearing on the screen, and that was

followed by verbal confirmation with the residential superintendent that

an Eric Eisenberg currently resides at 454 W. 46th Street, Unit 1ES,

  H. ) by entry beyond a locked gate with permission of superintendent,

who also accompanied me, I have gone to defendant-appellee

Eisenberg's residential door (to attempt service of summons and

amended complaint) and observed a priority mail package, that I

recognized I had shipped via U.S. Mail several days earlier, containing

plaintiff-appellants' brief and appendix displaying defendant-appeIlee's

Eisenberg address with my return address,

   I.) a professional listing with an "Eric M. Eisenberg Counsel" with an

address of 405 Lexington Avenue, 48th Floor, New York, NY, h.) a 2022

New York State Supreme Court Complaint stating in 111 an Eric

Eisenberg "was and still is a resident of the County, City and State of

New York, and a review of the docket did not reveal a change of

address,

   J.) a New York State Unified Court System filing listing a post office

box address for an Eric Mitchell Eisenberg within New York County,




                                                                             12
           Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 21 of 62




  K.) witnesses observing Eric M. Eisenberg in in the vicinity of

plaintiffs-appellants address business at 349 W 46th St, New York, NY,

and being photographed, on October 9, 2024, and identified by a

witness as Eric M. Eisenberg, while trespassing on the property,

  L.) Defendant-appellant has been observed by plaintiff-appellant

Akhtar in the vicinity of his business, Swing 46, in October 2024, see

'IW 3 & 4 of Declaration of John Akhtar, dated February 14, 2025. It is

one thing for defendant-appellant to represent to the Court that he needs

to have documents sent to an address in Florida, yet it is quite

remarkable that he is showing up at plaintiffs-appellant's Akhtar's New

York business where he has been asked to stay away. And this occurs

during the pendency of a complaint in federal court where defendant-

appellate is alleged to have engaged in acts of harassment against

plaintiff-appellant Akhtar.

   M.) there is a valid basis for the belief that Eric M. Eisenberg has only

a mailing address for personal convenience at 1300 S. Miami Avenue,

Unit 1408, Miami, because of a "2024 Real Estate Property Taxes"

record that refers to a Christinia Yu, listing an address of 454 West 46th

Street, Apt. 1ES, New York, NY 10036, oddly enough the same

residential address of defendant-appellant Eisenberg's dwelling,


                                                                          13
              Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 22 of 62




      N.) a property information search that revealed a listing for an

  address at 1300 S. Miami Avenue, Unit 1408, Miami, Florida with a

  notation indicating the lack of homestead tax-- meaning the address is

  not used as a primary residence by anyone.

     O.) a voter registration search for the entire State of Florida reveals

  no one by the name of Eric M. Eisenberg as a registered voter,

     P.) The cover page of a New York State Supreme Court case that lists

  in 1] 1 that an "...Eric Eisenberg was, and still is a resident of the County,
                                 II
  City and State of New York.

      30. Defendant-appellee Eisenberg represented be should not be

allowed an advantage through his unwillingness to play by the rules. His

conduct placed plaintiffs-appellants at a distinct disadvantage through no

fault of their own. Plaintiffs-appellants had a sense of what might be

occurring, but at the time of the filing of the interlocutory appeal, they

lacked most of the evidence as described above. In light of that unlevel

playing field, it was a strategy to cover every venue so they could not later

be accused of the lack of due diligence. The clock was ticking, and here

was a need to get this information before a court.

      31. while not detailed above because it has not been adjudicated in

the district court, plaintiffs-appellants are of the belief the defendant-


                                                                               14
               Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 23 of 62




appellant had been adequately served at least once in New York. Now

armed with the evidence as described above, plaintiffs-appellants are in

position to ask the district court to revisit the issue of actual service of the

Summons and Amended Complaint upon defendant-appellee Eisenberg.

      32. It is anticipated the foregoing issues will be vehemently opposed,

but what is unfortunate, based upon past experience, my character will be

under attack once again. I do not understand why, but defendant-appellee

Eisenberg has litigated his case by attacking me personally, alleging l have

engaged in fraudulent conduct before the Court, and that l should be

subject to sanctions. He has made some vile comments to me that I would

rather not repeat in a public forum. I am not asking for the Court's

intervention because of these allegations, I only ask that my clients be

given the fair opportunity to have their claims heard in district court.

      33. Another way to put this is to admit it is hurtful to be attacked the

way I have. I have a long history of public service, served as a judicial law

clerk, an assistant district attorney and assistant prosecutor, spent four

years as an attorney investigator for a judicial ethic's committee, and

appeared numerous times in the regional trial and appellate courts, and l

have never been accused of anything remotely similar to what I have been

accused of while appearing as counsel in this case. I am not the



                                                                                   15
              Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 24 of 62




complainant in the case. Irely on what my clients tell me, and reject

anything that would have the slightest appearance of untruthfulness, and I

go where the facts lead me.

      34. it is noteworthy that a briefing and scheduling Order has not been

entered, and oral argument was not set. Defendant-appellee Eisenberg

was not obligated to file a brief. In balancing the equities, and because

plaintiffs-appellants come before the Court with "clean hands," it would be

truly unfair to have the appeal stricken with prejudice.

      35. For the reasonable stated above, along with the pleadings on the

record in this case, I respectfully request that plaintiffs-appellants be

permitted to withdraw their appeal, without prejudice, such that the issues

may be argued in district court.

      I declare under penalty of perjury to the truth to the foregoing. I am

aware that I can be subject to punishment for any statement knowingly

made false.


                                             .
Dated: March 6, 2025
                                            Anthony N. lannarelli Jr.
                                        Attorney for Plaintiffs-appellants
                                            74 Lafayette Avenue
                                             Suite 202 # 1 16
                                           Suffern, New York 10901
                                                212-431-1031


                                                                               16
Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 25 of 62




                             ar1ilaw2@gmaiL com




                                                           17
Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 26 of 62




          Exhibit A
          Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 27 of 62

   Case 1:23-cv-06585-JGLC-VF      Document 99               Filed 09/16/24    Page 1 of 17



                 UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF NEW YORK
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Mohamed John Akhtar and                   ..
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La Buca Restaurant, Inc. d/b/a             .
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                                           l
Swing 46 Jazz and Supper Club,             ..
                                            .
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                                             .
                                             |.     Case No. 23-cv-6585 (JGLC)(VF)
        Plaintiffs,                           .
                                              .
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                                              ..
                 v.                            ..
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                                                    Jury Trial: 2<_ Yes   No
Eric M. Eisenberg, and John and             I
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Jane Does One through Thirty,               I
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                                                    Plaintiffs' First Amended Complaint
                                            I
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                                            I
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        Defendants.                         I
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      Plaintiffs Mohamed John Akhtar and Swing 46 Dinner & Dance

Club plead as follows:

                         I. The Parties

   l. Plaintiff Mohamed John Akhtar (hereinafter "plaintiff Akhtar"), is a
person and citizen of the United States of American, with a business address of

349 46th Street, Borough of I\/Ianhattan, New York, NY 10036, and is within the

jurisdiction of the United States District Court for the Southern District of New

York.

   2. Plaintiff Akhtar is a naturalized United States Citizen from the Country of

Bangladesh. As such, he is within a protected class for the purposes of federal civil

right' S litigation.

   3. La Buca Restaurant, Inc., d/b/a as Swing 46 Jazz and Supper Club Dinner


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                               "Case: 24-2370, 03/06/2025, D9&EsH?§t:'0?'¥'fS9§9§e29'8°8f*0FQDk*Rp*-p1?996152993811815

 09/04/2024    25 NOTICE of Correct typographical errors in Permission fo Interlocatory Appeal re: 85
                   Order Adopting Report and Recommendations, Set Deadlines,,,,,,. Document filed by
                   Mohamed John Akhtar..(Iannarelli, Anthony) (Entered: 09/04/2024)
 09/04/2024    % AFFIDAVIT OF SERVICE of Amended Request to File Interlocutory Aooeal served
                  on Eric Adams, Rohit T. Aggarwala, New York City Department of Environmental
                  Protection, Eric M. Eisenberg on 09/04/2024. Service was made by Mail & electronic
                  service. Document filed by Mohamed John Akhtar..(Iannarelli, Anthony) (Entered:
                  09/04/2024)
 09/06/2024    8 LETTER MOTION to Adjourn Conference addressed to Magistrate Judge Valerie
                         Figueredo from Kerri A.Devine dated September 6, 2024. Document filed by Eric
                         Adams, Rohit T Aggarwala, New York City Department of Environmental Protection..
                         (Devine, Kerri) (Entered: 09/06/2024)
  09/10/2024   3 ORDER ADJOURNING SETTLEMENT CONFERENCE granting 8 Letter Motion
                          to Adjourn Conference In light of the Court's order dismissing Plaintiffs' claims, ECF
                          No. 85, the settlement conference in this matter currently scheduled for September 23 ,
                          2024 at 10:00 a.rn. is hereby adjourned. The Clerk of Court is respectfully directed to
                          terminate the motion at ECF No. 97. SO ORDERED. (Signed by Magistrate Judge
                          Valerie Figueredo on 9/10/2024) Goa) (Entered: 09/1012024)
  09/16/2024    99 FILING ERROR - DEFICIENT PLEADING _ FILED AGAINST PARTY
                          ERROR AMENDED COMPLAINT amending L Complaint, against Eric Eisenberg
                          with JURY DEMAND.Document filed by Mohamed John Akhtar. Related document:
                          _1 Complaint,..(Iannarelli, Anthony) Modified on 9/17/2024 (go). (Entered:
                          09/16/2024)
  09/16/2024   100 FILING ERROR _ SUMMONS REQUESTED - WRONG EVENT TYPE
                   SELECTED FROM MENU - REQUEST FOR ISSUANCE OF AMENDED
                           SUMMONS as to Eric M Eisenberg, re: Amended Complaint. Document filed by
                           Mohamed John Akhtar..(Iannarelli, Anthony) Modified on 9/17/2024 (go). (Entered:
                           09/16/2024)
  09/16/2024   101 FILING ERROR - SUMMONS REQUESTED _ WRONG EVENT TYPE
                           SELECTED FROM MENU _ REQUEST FOR ISSUANCE OF AMENDED
                           SUMMONS as to Eric M Eisenberg, re: 2_ Amended Complaint. Document filed by
                           Mohamed John Akhtar..(Iannarelli, Anthony) Modified on 9/17/2024 (go). (Entered:
                           09/ I 612024)
  09/17/2024                   NOTICE TO ATTORNEY REGARDING DEFICIENT PLEADING. Notice
                           91334

                           to Attorney Anthony Nicholas Iannarelli, Jr to RE-FILE re: Document No.
                           Amended Complaint,. The filing is deficient for the following reason(s): all of the
                           parties listed on the pleading were not entered on CM ECF; John and Jane Does
                           One through Thirty were previously terminated and must be added as a new
                           party; all of the filers were not selected for the pleading; all of the wrong parties
                           whom the pleading is against were not selected. Docket the event type Add Party
                           to Pleading found under the event list Complaints and Other Initiating
                           Documents.. Re-file the pleading using the event type Amended Complaint found
                           under the event list Complaints and Other Initiating Documents - attach the
                           correct signed PDF - select the individually named filer/filers - select the
                           individually named party/parties the pleading is against. (go) (Entered:

of21                                                                                                        3/5/25. 7:22 PM
Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 29 of 62




           Exhibit B
                                      iCase: 24-2370. 03/06/2025. DktEntrv: 97.1. Pace 30 of 62




                     - retina                                                                                                   Richard M. Klein, MD
                                                                                                                                Michael J. Harris, MD
                                                                                                                                Stuart W. Noorily, MD
       Formerly Retina Associates of NJ                                                                                         Christopher M. Secry, MD
                                                                                                                                Steven A. Mzldrcperla, MD, PhD
       www.njretin8.com                                                                                                         Leonard Fainer, MD, PhD
                                                                                                                                David Y. Kim, MD
                                                                                                                                Vinod B. Voles, MD




                January 3, 2025



                To Whom lt May Concern:

                 have been treating Anthony lannarelli Jr. for macular degeneration over the past year. He may
                experience long-term Limitations in the vision of his left eye. He has scheduled retinal
                appointments every 4 weeks for necessary treatment.

                Any consideration that can be offered to alleviate his functional challenges at work would be
                greatly appreciated. If he requires time extensions for his tasks, please make the necessary
                accommodations.

                Please contact me if you have any questions.

                Thank you,

                    8
                Tamara Lenis, MD




628 Cedar Lane      1044 Roots: 221 Nor th   5 Franklin Avenue. Suite G5   2952 Vauxhall Road   3 I96 Kennedy Boulevard   200 S. Broad Slreel   182 South Street, Suikc 5
Teancck. NJ 07666   Wayne. NJ 07470          Bdlvvillv, NO 07109           Vauxhall, NJ 07088   Union City. NJ 07087      Ridgewood. NJ 07450   Morristown, NJ 07960
T: 20l~837~7300     T' 973-533-9898          T: 973-450-5100               T:908-349-8155       T: 2014167-2999           T: 201-445-6622       T:973-G30-7700
F: 201 -836-6426    F:973-G33-3892           F: 973-450-9494               F: 908-349-8134      F: 201-867-4440           F: 201-445-0262       F: 973-605-5807
Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 31 of 62




           Exhibit C
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                                                    ECF Participation, # 2 Exhibit 2 .. Ndugga Service on Bloomberg).(Eisenberg, Eric)
                                                    (Entered: 02/05/2025)
  02/06/2025                         121 AMENDED ORDER: This Order amends the Order at ECF No. 119, which indicated
                                         that Defendant Eric M. Eisenberg was properly served via ECF. Eisenberg's objection
                                         at ECE No. 120 correctly points out that for an automatic notice of electronic filing via
                                         ECF to constitute service, Plaintiffs must have properly served the original complaint
                                         on Defendant. Here, however, the original complaint was dismissed for lack of
                                         personal jurisdiction, because Plaintiffs failed to properly effectuate service on
                                         Eisenberg. See ECF No. 72, ECF No. 85. Although Plaintiffs have attempted to serve
                                         Eisenberg several times, Plaintiffs do not appear to have attempted service at
                                         Eisenberg's Miami, Florida address (see ECE No. 117), which is listed on the docket.
                                         Plaintiffs' request for an extension of time to serve Eisenberg is GRANTED. Plaintiffs
                                         are directed to effect service on Eisenberg by March 10, 2025. If Plaintiffs are unable
                                          to effectuate service by March 10, Plaintiffs should submit a letter to the Court,
                                         explaining their attempts at effectuating service on Eisenberg at the Miami address. (
                                         Service due by 3/10/2025.) (Signed by Magistrate Judge Valerie Figueredo on
                                         2/6/2025) (fro) (Entered: 02/07/2025)
  02/07/2025                          122 Objection re: 121 Order,,,,, Set Deadlines/Hearings,,,, with respect to grant of
                                                     procedurally improper andfalsyied-in-part motion for extension of time. Document
                                                     filed by Eric M. Eisenberg..(Eisenberg, Eric) (Entered: 02/07/2025)

   02/12/2025                         123 FILING ERROR _ WRONG EVENT TYPE SELECTED FROM MENU u
                                          SUMMONS RETURNED EXECUTED Summons and Amended Complaint, served .
                                          Service was accepted by nia. Service was made by n/a. Document filed by La Buca
                                          Restaurant, Inc., Mohamed John Akhtar. (Attachments: # L Affidavit Unsuccessful
                                          Service).(Iannarelli, Anthony) Modified on 2/13/2025 (lb). (Entered: 02/12/2025)
   02/13/2025                                         ;*'**NOTICE T() ATTORNEY TO RE-FILE DOCUMENT _ EVENT TYPE
                                                      ERROR. Notice to Attorney Anthony Nicholas Iannarelli to RE-FILE Document
                                                      123 Summons Returned Executed,. Use the event type Summons Returned
                                                      Unexecuted found under the event list Service of Process. (lb) (Entered:
                                                       02/13/2025)
   02/14/2025                          124 SUMMONS RETURNED UNEXECUTED as to Eric M. Eisenberg. Attempted
                                           Service of Summons and Amended Complaint, Service was attempted on January 16,
                                           17, & 18, 2025. Document filed by La Buca Restaurant, Inc., Mohamed John Akhtar.
                                           (Attachments: # _1 Affidavit Unsuccessful Service).(Iannarelli, Anthony) (Entered:
                                           02/14/2025)
   02/18/2025                           125 FIRST RESPONSE re: 121 Order, Set Deadlines/Hearings,,,,,,,, . Document filed by
                                            Mohamed John Akhtar, La Buca Restaurant, Inc...(Iannarelli, Anthony) (Entered:
                                            02/18/2025)
   02/18/2025                           126 Objection re: 122 Objection (non-motion) Plainz"ws-No objecction to magistrate's.
                                            Document filed by Mohamed John Akhtar, La Buca Restaurant, Inc...(Iannarelli,
                                            Anthony) (Entered: 02/18/2025)
    02/18/2025                           127            LETTER MOTION for Leave to File Paper Responding to False or Misleading Factual
                                                        Assertions in Plaintiffs Filings at D.I. 125 / 126 addressed to Judge Jessica G. L.
                                                        Clarke from Eric M. Eisenberg dated February 18, 2025. Document filed by Eric M.
                                                        Eisenberg..(Eisenberg, Eric) (Entered: 02/18/2025)

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Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 33 of 62




          Exhibit D
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                              Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 34 of 62
                                                                             Voter Details Screen for VolerLookUp




SKP TO MNN CONTENT


                                           Poll Site, Registration, and Mail Ballot information


                                             Polling Place lnfovmallcn


                                             Early Voting Poll Situ

                                              For Early Voting locations and lim es in your area, please follow this link
                                              through to your Countv Board Q( Sections
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                                             Election Day Poll Silk

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                                              Voter information

                                               N a me : ElSENBERG, ERIC M
                                               Address: 454 WEST 46 STREET YES. NEW YORK 10036-$003
                                               Mailing Address (if any) :
                                               Political Party : Demoora\ic
                                               Voter Status : Active

                                              Voter District Information

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                                                Congressional Distric! : 12
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Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 35 of 62




          Exhibit E
                            Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 36 of 62


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     ©x Registered Voter Search

     Personal information

     Only voters registered In New york (ny voters w ill be found In this system.

     Please enter your information exacrlyas it appears on your voter record. Failure to do so may result ire "Record Not Found".

     *All Reids Are Required

     First Name                                        LastN a me                                       Birth Date

      Eric                                              elsenherg                                        . l I
     Borough                                           Zip Code

      Manhattan                                 v       18036



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Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 37 of 62




           Exhibit F
Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 39 of 62




          Exhibit G
Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 40 of 62


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Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 41 of 62




          Exhibit H
Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 43 of 62




           Exhibit I
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  &};]3ENSTEIN LLP
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                                                                                                                                                                                                d-
  Eric M. Eisenberg Counsel
                                          Eric's      practice    focuses      on   intellectual   property   procurement,
                                          counseling, and Iitlgatlon, including with respect to trademark,

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                           ..
                                          patent, copyright, false advertising and unfair competition matters.
                                          Eric is experienced with technical areas including the computer,
                                          mechanical and consumer product fields.
                                                                                                                                BAR ADMISSIONS
                                                                                                                                    New York
                                                                                                                                    United States Courts of Appeal for the Federal Circuit
                                                                                                                                  » United States District Court for the Southern District of New
                                          IN TIIIC FRESS                                                                            York
                                              The Trademark Lawyer Features the Arrival of Lawyers                                - United States patent & Trademark Office
                                                 and Other Colleagues from Cooper & Dunham
                                                                                                                                Education
                                                                                                                                    Columbia Law School, J.D., 2008 (Columbia Business Law
                                                 Ipwatchdog Notes Arrival of Cooper & Dunham Lawyers to                             Revlew, Harlan Fiske Stone Scholar for each year of
                                                 Amster Rothstein & Ebensteirn                                                      attendance)
      Direct           212 336 8194
                                                                                                                                    Dartmouth College, B.A., 2005 (magna cum laude,
      Main             212-336-8000                                                                                                 Computer Science and Philosophy Double Major)
      Fax              212~336-8001                                                                               view all >>
                                                                                                                                Professional Associations & Memberships
  405 Lexington Avenue                                                                                                            - New York Intellectual Property Law Association (NYIPLA)
  48th Floor
  New York, NY 10174                                                                                                            Honors & Awards
                                                                                                                                    Selected to Super Lawyers Rising Stars, each year from
                                                                                                                                    ZO14 through 2021 (Intellectual Property, Intellectual
                                                                                                                                    Property Litigation)
                                                                                                                                    Identified as a "Top Rated Intellectual Property Attorney in
                                                                                                                                    New York, NY" by Super Lawyers
                                                                                                                                Represcntatlvc Matters
                                                                                                                                  - Successful prosecution of domestic trademark and patent
                                                                                                                                    portfolios before USFTO. Management of foreign
                                                                                                                                    prosecution based on international applications
                                                                                                                                  - Successful negotiation of amicable resolution to UDRP
                                                                                                                                    Internet domain name proceeding, which was brought
                                                                                                                                    against client by major appliance manufacturer, where
                                                                                                                                    client retained the disputed domain name
                                                                                                                                   - In termctro Industries V. Enovate Medical (Successfully
                                                                                                                                      obtained finding during IPR of unpatentability of all
                                                                                                                                      instituted claims of two patents relating to computer desks.
                                                                                                                                      Decision affirmed by Federal Circuit)
                                                                                                                                   - Adama Makhteshim Ltd. v. Finchimica S.p.A. (During IPR,
                                                                                                                                      successfully obtained finding of unpatcntability of all claims
                                                                                                                                       at issue, relating to a method of pesticide production, by
                                                                                                                                       the Patent Trial and Appeal Board. Decision affirmed by
                                                                                                                                      Federal Circuit)
                                                                                                                                      SCG Characters LLC v. Telebrands Corp. et al (Successfully
                                                                                                                                       obtained dismissal, on motion to dismiss, of lawsuit for
                                                                                                                                       patent infringement)




                                         4 0 5     LEXINGTON            AVENUE1         NEW YORK, NEW YORK 10174                     /      2 1 2   3 3 6   8 0 0 o   /
                                                                                              WWW.ARELAW.COM


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Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 45 of 62




           Exhibit J
C/4/49, ¢;ua l"IVI                                  Case: 24-2370, 03/0M808&n8k$EmW'y:&%w1, Page 46 of 62




                                             Registration Num ber:                4771804
                                             N am e:                              ERIC MITCHELL EISENBERG
                                             Business Name:                       ERIC EISENBERG
                                             Business Address'                    PO Box 2452
                                                                                  NEW YORK, NY 10108-2452
                                                                                  (New York County)
                                             Business Phone:                      (518) 573-2714
                                             Email:                               ERICEIS@GMA1L.COM
                                             Date Adm i tted:                     12/08/2009
                                             Appellate Division Departm ent
                                             of Admission:                        1st
                                             Law School:                          Columbia Law School
                                             Registration Status:                 Attorney - Currently Registered
                                              Next Registration:                  Jul 2025




                                              No record of discipline




                                         Q
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                                               1.
                                                    The Detall Report above contains information that has been provided by the
                                                    attorney listed, with the exception of REGISTRATION STATUS, which is
                                                    generated from the OCA database. Every effort is made to insure the
                                                    information In the database is accurate and up-to-date.
                                                    The good standing of an attorney and/or any information regarding disciplinary
                                                    actions must be confirmed with the appropriate Appellate Division Department.
                                                    Information on how to contact the Appellate Divisions of the Supreme Court In
                                                    New York is available at ww    yceectsg V C u     .




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Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 47 of 62




          Exhibit K
Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 50 of 62




           Exhibit L
                    Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 51 of 62




    having occurred on October 9, 2024, not on the September 9**' date. I also

    recall the day because of the seriousness of the situation caused by the

    defendant Eric Eisenberg.

         3. I now recall that on Wednesday, October 9, 2024, Ms. Hayes was

    to be at the club Swing 46 decorating. She called me to say she saw

    defendant Eisenberg standing on the patio of Swing 46 and staring at her

    through the club's main window. She told me he continued to linger and

    watch her as she worked by herself inside. She said she found his conduct

    unsettling and she became quite upset.

          4. When I arrived Eisenberg was there and l asked him to leave, but

     Ne refused. Eventually, a Times Square security guard, employed by a

     private community workforce, showed up and defendant Eisenberg left.

           5. At some point I called the club's attorney, Anthony N. lannareili

     Jr., who arrived after Eisenberg had already left. Ms. Hayes gave a written

     statement as to what happened and signed it in the presence of the attorney.

           6. Based upon my review of "date stamped" photos of defendant

     Eisenberg taken by Sarah Hayes, my recollection tells me without a doubt

      these events occurred on Wednesday, October 9, 2024. This included Ms.

      Hayes signing her statement in the presence of the attorney Anthony

      lannarelli.

l                                              2
            Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 52 of 62




     7. The dates can be confusing because of frequency that defendant

Eisenberg would come and linger outside of the club for no apparent reason.

I continued to see defendant through the late fall of 2024. Previous to that

time period, the defendant would regularly come by the club lingering and

pointing with a handheld device. He continued to do this in spite of an

ongoing federal complaint that I brought against him in an effort to get him to

stop this behavior.

      8. To make it clear, I have had the benefit of reviewing defendant

Eisenberg's statement of February 7, 2025. in We statement we claims my

 attorney Anthony lannarelli was not present when Sarah Hayes signed her

 statement. Defendant Eisenberg's statement is false because I observed Ms.

 Hayes sign the document in my attorney's presence with my own eyes. The

 month is incorrect, the date was in October rather than September. l believe

 defendant Eisenberg is lying to hurt my case that brought against him in my

 attempt to stop his harassing behavior.

       9. I also note that defendant Eisenberg claims he has been

  traumatized by the lawsuit brought against him on my, and the club's, behalf.

  Defendant Eisenberg's claim in itself is strange because he continued to

  reappear at Swing 46--the place that is purported to be his source of trauma-

  -and for a period of hours on that October Q, 2024 date.

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                                         J
                                Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 53 of 62   2/14/25, 1:5-




                    I affirm to the truth of the foregoing based upon my personal

             knowledge. along with information and belief of credible witnesses-.

             Dated: February 14, 2025            .Mohamed
                                                   #ALL
                                                   _QMYQ
                                                          John Akhlar
                                                 President La Buck, Inc.




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szl/mail.google.comlmaillulOl                                                                        Page 1 of 1
Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 54 of 62




           Exhibit M
                                                             Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 55 of 62
                                           PaidBy FIRSTBANK FLORIDA
                                                               Miami-Dade County, Florida                                                     Paid 11/26/2024                      Receipt # EEX-25-000249                                                          $7,574.84

                                                       2024 Real Estate Property Taxes
                                            Notice of Ad Valorem Tax and Non-Ad Valorem Assessments
                                           SEE REVERSE SIDE FOR I M P O RT ANT I N F O R M A T I O N
                                                                                                                                                                                                                                                      ETH
                    01 ~4139-128-2700                                                                                                        MIAMI                                                                                            0101
       CHRISTINA YU
       454 W 46 ST APT 1ES
                                                                                                        ro erv Address                                                                                           Exemptions:
                                                                                                      1300 S MIAMI AVE 1408
       NEW YORK, NY 10036




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          Miami-Dade School Board
           School Board Operating                                                                                             388,200                          5.46800                                     388,200                                                2,122.67
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           Voted School Operating                                                                                             388,200                          1.00000                                     388,200                                                  388.20
          State and Other
           Florida Inland Navigation District                                                                                 384,318                           0.02880                                    384,318                                                  11 .07
           South Florida Water Management District                                                                            384,318                           0.09480                                    384,318                                                  36.43
           Okeechobee Basin                                                                                                   384,318                           0.10260                                    384,318                                                  39.43
           Everglades Construction Project                                                                                    384,318                           0_03270                                    384,318                                                  12.57
           Childrens Trust Authority                                                                                          384,318                           0.50000                                    384,318                                                 192.16
          Miami-Dade County
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           County Wide Debt Service                                                                                            384,318                          0.42710                                     384,318                                                 164.14
           Library District                                                                                                    384,318                          0.20120                                     384,318                                                 108,07



           Municipal Governing Board
            Miami Operating                                                                                                       384,318                        7.13540                                     384,318                                              2,742.65
            Miami Debi Service                                                                                                    384,318                        0.25360                                     384,318                                                 97,46
            Miami Miscellaneous                                                                                                   384,318                        0.43120                                     384,318                                                165.72



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1300 S MIAMI AVE 1408                                                                                 Mail your payment, in U.S. Funds from a U.S. bank, and payable to:
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Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 56 of 62




           Exhibit N
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HOME          EXEMPTIUNS                  REAL               nlnrslBLE                 PUBLIC ONLINE                 TAX HULL                ABOUT CUNTA
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                   ADDRESS                     OWNER NAME                           SUBDIVISION NAME                           FOLIO


SEARGH:                  Owner Name                                                     lQ                     Back to Search Results



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Folio: 01 -4139-126-2709


Sub-Division:
     1300 S MIAMI AVENUE CONDO


 Property Address
      1a0o s MIAMIAVE                   UNIT: 1408


 Owner
      CHRISTINAYU


 Mailing Address
       454 W 46 STAPT 1Es
       NEW YORK, NY 10036


     PA Primary Zoner
       6408 RAPID TRANSIT-HIGH DENSIT


     Primary Land Use
        0407 RES\DENTlAL . TOTAL VALUE : CONDOMINIUM . RESIDENTIAL

     Beds I Baths Half                                                                                                 1I1/1


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Featured Online Tools

  Comparable Sales                                                       Glossary                                        PA Additional Online Tools
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  Report Discrepancies                                                   Report Homestead Fraud                          Special Taxing Districts ahd
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  Tax Comparison                                                         Tax Estimator                                   TRIM Nolice
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Year                                                                                                           2024                      2023                         2022
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Market Value                                                                                         $368,790                   $349,380                        $283,672
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 Year                                                                                              2024                                2023                           2022
 COUNTY
   Exemption Value                                                                                       $0                               $0                             so
   Taxable Value                                                                             $368,790                        $349,380                           $262.770
 SCHOOL BOARD
   Exemption Value                                                                                       so                               so                             $0
   Taxable Value                                                                             $368,790                        $349380                            $283,872
 CITY
     Exemption Value                                                                                     $0                               $0                             so
     Taxable Value                                                                            $368,790                        $349,380                          $262.770
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     Taxable Value                                                                            $368,790                        $349,380                          $262,779
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  Benefit                                                                    Type                                                        2024        2023               2022
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     11/23/2022                $514.000 aa4a7~4045                                     Qual by exam of deed                  PATAGONIA ESTATES LLC
     11/14/2016                $397,900 303154107                                      Qual by exam of deed                  PRH 1300 s MIAMI AVENUE LLC
Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 59 of 62




           Exhibit 0
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   (/es/CheckVoterStatus/Index)
      CHECK YOUR REGISTRATION AND VOTING STATUS


      Check here for your voter registration status. To find your polling place, sample ballot, and vote-by-mail ballot status, check your Supervisor of
      Elections' (https:lldos.myflorida.comlelectionslfor-voterslcheck-your-voter-status-and-polling-placelvoter-precinct-lookupl) website.


      Please allow 1-2 business days for newly entered voter registration information to appear on this website.

      ONLINE VOTER REGISTRATION

      Visit   gistertoVoteFlorida.g     (https:llregistertovoteflorida.gov) to submit a new registration or to update your existing record.



                                                   Reg'ster tnueteFI@rida .QULI (https://registertovoteflorida.gov/)
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              Your name and date of birth must be entered as it appears in your registration record to find your information. (*) Indicates required field.

     * First Name :


       eric

     * Last Name :

       eisenberg

     * Birth Date (MM/DD/YYYY):

 "
       This website is intended for use by a registered voter to determine his or her voter registration and voting status. It is unlawful to knowingly alter another
       person's voter registration information or to attempt, assist with, or otherwise commit fraud in connection with the right to vote. See §§ 104.011,
       104.041, and 104.41, Fla. Stat. For more information, visit our Voter Registration information (http://dos.myflorida.com/elections/for-voters/voter-
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       * CII understand and agree,



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                                  Please email E'»VRSHelp@dos.myflorida.com (mailto:BVRSHelp@dos.myflorida,com) for website assistance.
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                                 Ron DeS antis, Governor
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                                 Cord Byrd, Secretary of State



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        | Connect (Mp://dos.myflorida.com/communications/connect/).                                                              Tallahassee, Florida 32399-0250


 httpszl/registration.elections.myflorida.com/CheckVoterStatus                                                                                                                 1/2
Case: 24-2370, 03/06/2025, DktEntry: 97.1, Page 61 of 62




           Exhibit P
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NYSCEF DOC. NO. 1                                                                                                                  RECEIVED NYSCEF2 01/27/2022




                    SUPREME COURT OF THE STATE OF NEW YORK
                    COUNTY OF NEW YORK

                                                                                                                                   Index No.:
                    ERIC EISENBERG,

                                                                     Plaintiff,                                                    VERIFIED COMPLAINT

                                 -against-

                    AMAZON LOGISTICS, INC., "ALPHA CARTING
                    COMPANY" (name being fictitious as the true identity
                    is currently unknown) and "BETA CARTING COMPANY"
                    (name being fictitious as the true identity is currently
                    unknown), BERNARD WILSON, ANTONIO "DOE"
                    (name being tictilious as the true identity is cu1TentIy
                    unknown), KURT "ROE" (name being fictitious as the
                    true identity is currently unknown),                                                                                                         l
                                                                                                                                                                 4
                                                                      Defendants.                                                                                r

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                                  Plaintiff, ERIC EISENBERG, by his attorneys, the LAW OFFICE OF RICHARD M.                                                      I



                     KENNY, complaining of the defendant, alleges the following upon information and belief:
                                                                                                                                                                 E

                                  1.            That at all times herein mentioned, the plaintiff ERIC EISENBERG, was and still
                                                                                                                                                                 il
                                                                                                                                                                 I
                     is a resident of t he County, City and State of New York.                                                                                   II
                                                                                                                                                                     g




                                  2.            That at all times herein mentioned, the defendant, AMAZON LOGISTICS INC.,

                     (hereinafter referred to as "AMAZON"), was and still is a foreign business corporation doing                                                    |
                                                                                                                                                                     e
                     business within the State of New York, with a principal place of business located in Seattle,                                                   ||



                      Washington.
                                                                                                                                                                     i

                                   3.           That at all times herein mentioned, the defendant, ALPHA CARTING

                      COMPANY, (hereinafter referred to as "ALPHA"), was and still is a domestic corporation, duly                                                   l




                      existing under and by virtue of the laws of the State of New York.




                                                                                                    l

                                                                                  3 of 39
